131 F.3d 149
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Raul Fonseca DURAN, Defendant-Appellant.
    No. 94-50463.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 17, 1997.**Decided Nov. 20, 1997.
    
      Appeal from the United States District Court for the Central District of California, No. CR-93-01082-Kn-1;  David V. Kenyon, District Judge, Presiding.
      Before HUG, Chief Judge, PREGERSON and BEEZER, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Raul Fonseca Duran appeals his guilty plea conviction and the eighteen month sentence imposed for possession of goods stolen from an interstate shipment in violation of 18 U.S.C § 659.  His attorney has filed a brief stating that she finds no issues for review and a motion to withdraw as counsel of record pursuant to Anders v. California, 386 U.S. 738 (1967).  Our examination of counsel's brief and our independent review of the record under Penson v. Ohio, 488 U.S. 75, 83 (1988), disclose no issues for review.
    
    
      3
      Accordingly, we grant counsel's motion to withdraw and affirm the district court's judgment.
    
    
      4
      AFFIRMED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.  R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    